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                     UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF ALABAMA
                          NORTHERN DIVISION
BRIANNA BOE, et al.,                        )
                                            )
Plaintiffs,                                 )
                                            )
v.                                          )         Case No. 2:22-cv-184-LCB
                                            )
STEVE MARSHALL, et al.,                     )
                                            )
Defendants.                                 )

                                      ORDER

       The Court ORDERS Respondents Melody Eagan, Jeffrey Doss, Scott

McCoy, Asaf Orr, Michael Shortnacy, Jennifer Levi, Shannon Minter, James Esseks,

LaTisha Faulks, Carl Charles, and Kathleen Hartnett to provide the Court with

copies of any public statements they or their organizations have made about these

attorney-disciplinary proceedings, including press releases, website content, social

media posts, interviews, public speeches, newsletters, and public emails. The

statements    must    be   emailed     to       the   Court’s    chambers’     address,

burke_chambers@alnd.uscourts.gov, by June 22, 2024 at 5:00 p.m.

       DONE and ORDERED this June 20, 2024.



                                     _________________________________
                                     LILES C. BURKE
                                     UNITED STATES DISTRICT JUDGE
